Case 1:20-cv-01469-DLF Document 103 Filed 11/25/20 Page 1 of 2
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Black Lives Matter D.C., et al.

Plaintiff(s)
Case No.: 1:20-cv-01469-DLF

VS.

Donald J. Trump, President of the United States of America, et al.

Defendant(s)
AFFIDAVIT OF SERVICE

 

I, Vance M. Warren, Sr., a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons and Third Amended Class Action Complaint in the above
entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 11/17/2020 at 2:56 PM, I served Arm Patch Number SK10 a/k/a Officer Sean Kellenberger, U.S. Park Police at 1776 K
Street, NW, Lobby, Washington, DC 20006 with the Summons and Third Amended Class Action Complaint by serving Michael
Ludwig, Attorney, authorized to accept service.

Michael Ludwig is described herein as:

Gender: Male Race/Skin: White Age: 27 Weight: 185 Height: 6'3" Hair: Brown Glasses: No

I declare under penalty of perjury that this information is true and correct.

 

||| 20/202

Executed On

 

 

Vance M. Warren, Sr. ete.
nnn Hert umber:0091224.00016

Job #: 1582695

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Cased POC dtheebIF Beaumnent 893 Fiteled0MsZn/2 Pageay ef 2Of 2
AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Columbia

Black Lives Matter D.C. et al.,

 

Plaintiff(s)

Vs Civil Action No. 1:20-cv-1469

Donald J. Trump et al.,

 

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) SEAN KELLENBERGER a/k/a Arm Patch Number SK10
Officer, U.S. Park Police
1100 Ohio Drive, S.W.
Washington, D.C. 20242

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Kaitlin Banner

Washington Lawyers' Committee for Civil Rights and Urban Affairs
700 14th Street, NW, Suite 400
Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D, CAESAR, CLERK OF COURT

Date: 10/16/2020 /s/ Erica Garmendez

 

Signature of Clerk or Deputy Clerk

 
